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NB180228                                                   Accused garment
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NB180228                                                   Accused garment
     Case 2:20-cv-11181-CAS-JPR Document 75-8 Filed 11/23/21 Page 4 of 4 Page ID #:1523




NB180228                                                   Accused garment
